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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


CECIL DAWSON,

       Petitioner,

v.                                                      Case No. 97-80227

UNITED STATES OF AMERICA,                               HONORABLE AVERN COHN

       Respondent.

___________________________________/

                     ORDER DENYING PETITIONER’S MOTION
                     REQUESTING A DOWNWARD DEPARTURE

                                            I.

       This is a criminal case. In 1998, Petitioner Defendant Cecil Dawson (Dawson)

pled guilty to conspiracy to distribute cocaine, in violation of 21 U.S.C. § 841 and was

sentenced to 120 months incarceration.

       Before the Court is Dawson’s motion requesting a downward departure, to which

the government has responded. For the reasons that follow, the motion is DENIED.

                                            II.

       This case has a long procedural history. On February 23, 1998, Dawson pled

guilty to Count 1 of the First Superceding Indictment, charging him with conspiracy to

possess with intent to distribute cocaine, in violation of 21 U.S.C. § 841. The Rule 11

agreement provided that Dawson’s sentence not exceed 214 months, and that if the

government filed a motion for a downward departure under U.S.S.G. § 5K1.1 for

Dawson’s substantial assistance, Dawson’s sentenced would not be greater than 150
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months. The probation department calculated Dawson’s sentencing guideline range to

be 210 to 262 months. The government did file a motion for downward departure and

recommended a sentence of no more than 151 months. The motion was granted and

on December 10, 1998, Dawson was sentenced to 120 months incarceration, noting

that Dawson’s sentence departed from the guidelines range because of his substantial

assistance.

       On July 13, 1999, Dawson filed a motion to vacate his sentence under 28 U.S.C.

§ 2255 on the grounds that his counsel was ineffective for failing to advise him of the

defense of entrapment and for failing to argue fundamental facts which would have

resulted in a lower sentence. The Court denied the motion for lack of merit. As to

Dawson’s sentence, the Court stated that “he [Dawson’s counsel] negotiated a

favorable plea agreement, i.e. the Court granted the government’s motion under USSG

§ 5K1.1 and departed downward to 120 months from a sentencing range of 210-262

months.” See Order Denying Petition to Vacate Sentence Under 28 U.S.C. § 2255, filed

February 1, 2000. A certificate of appealability was denied. See Order Denying

Certificate of Appealability, filed June 6, 2000.

       Thereafter, in August of 1999 and in April 2000, Dawson testified for the

prosecution in the Forty-Fifth B Judicial District of Oak Park in an unrelated child

molestation case.

       On February 28, 2000, Dawson filed a “Rule 35" motion seeking a further

reduction of his sentence based on his testimony in state court. The Court denied the

motion for lack of jurisdiction, as Dawson’s appeal of the denial of his § 2255 was

pending in the Court of Appeals for the Sixth Circuit, which was later dismissed on

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Dawson’s motion in September 2000.

        On November 2, 2001, Dawson an application for writ of coram nobis, seeking to

compel the government to file a motion for downward departure under Fed. R. Crim. P.

35 because of Dawson’s testimony in state court. The government filed a response,

contending that a writ of coram nobis is not available to Dawson and alternatively, the

government has fully evaluated Dawson’s request for a further reduction of his sentence

and has concluded that no further reduction is appropriate. The Court agreed with the

government and denied the motion and stated in relevant part: “the Court is satisfied

that there is no basis for granting Dawson a further reduction in his sentence,

regardless of the importance of his testimony in state court. As it was, Dawson’s 120

month sentence represents a departure of almost 60% from his minimum guideline

range of 210 months.” See Memorandum and Order Denying Application for Writ of

Coram Nobis, filed April 2, 2002. Petitioner moved for reconsideration, which was also

denied. See Order Denying Defendant’s Motion for Reconsideration, filed April 23,

2005.

        On March 7, 2005, Dawson filed the instant motion.1

                                            III.

        By the instant motion, he seeks to compel the government to file a motion for

downward departure under 18 U.S.C. § 3553, Fed. R. of Crim. P. 35, and/or U.S.S.G. §

5K1.1. This is yet another attempt by Dawson to obtain a further reduction of his



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        The government was directed to file a response by July 18, 2005. However, due
to the departure of the original Assistant United States Attorney, a response was not
filed until September 28, 2005.

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sentence. As the government points out, the Court does not have jurisdiction to review

the government’s decision not to request a further downward departure unless it is

alleged that the government’s refusal is based on unconstitutional motives, such as

race. See United States v. Moore, 225 F.3d 637, 641 (6th Cir. 2000). There is no

evidence of unconstitutional motives in this case, nor does Dawson make such an

allegation. Rather, Dawson continues to argue that his testimony in the unrelated state

case entitles him to a further reduction. As the Court has previously stated, there is no

basis for granting Dawson a further reduction in his sentence.

      SO ORDERED.



                                          s/Avern Cohn
                                         AVERN COHN
                                         UNITED STATES DISTRICT JUDGE


Dated: October 6, 2005


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 6, 2005, by electronic and/or ordinary mail.


                                          s/Julie Owens
                                         Case Manager
                                         (313) 234-5160




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